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             CERTIFICATE OF COMPLIANCE PURSUANT TO FEDERAL RULE OF
                        BANRUPTCY PROCEDURE 8015(h)


        The undersigned certifies that the Motion to Dismiss Appeal filed by Dean A. Ziehl, the

Liquidation Trustee of the TWC Liquidation Trust (the “Liquidation Trust” or “Appellee”),

formed pursuant to the confirmed and effective Fifth Amended Joint Chapter 11 Plan of

Liquidation, dated January 20, 2021 [Bankr. D.I. 3195] (the “Plan”), as successor-in-interest to,

and representative of, The Weinstein Company Holdings, LLC and its affiliated debtors

(collectively, the “Debtors”) does not exceed 5,200 words in accordance with Federal Rule of

Bankruptcy Procedure 8013(f)(3)(A).

        Dated: May 14, 2021                    PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Colin R. Robinson
                                               Colin R. Robinson (DE Bar No. 5524)
                                               Counsel for Appellee/Liquidation Trustee




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